Case 0:17-cv-60426-UU Document 303 Entered on FLSD Docket 11/05/2018 Page 1 of 5



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


   ALEKSEJ GUBAREV,
   XBT HOLDING S.A., and
   WEBZILLA, INC.                                                         Case No.
     Plaintiffs,
                                                                     0:17-cv-60426-UU
   v.

   BUZZFEED, INC. and
   BEN SMITH
     Defendants.


               PLAINTIFFS’ REPLY IN SUPPORT OF DAUBERT MOTION TO
                EXCLUDE THE EXPERT OPINIONS OF MICHAEL J. SULICK

         Defendants’ Opposition to Plaintiffs’ Daubert Motion to Exclude the Expert Opinions of
  Michael Sulick does nothing to demonstrate that Mr. Sulick’s report – which is based at least in
  part on his viewing of the television show The Americans and the Tom Hanks movie Bridge of
  Spies, along with his having read unnamed biographies and uncited media reports – bears the
  hallmarks of reliability, relevance, or usefulness upon which expert testimony must be based.
         Instead, Defendants make arguments that are neither fish nor fowl. So, when fatal flaws
  in Mr. Sulick offering his testimony as a “historian” are pointed out, Defendants pivot one way
  and argue that Mr. Sulick need not be a “historian” since he is relying on his life experience as a
  CIA agent. And when fatal flaws are pointed out concerning Mr. Sulick relying on his life
  experiences, Defendants pivot back and argue that experience isn’t the point, citing to cases in
  which professional historians, relying on reliable and cited historical materials, have been
  permitted to testify concerning matters directly relevant to the issues to be tried to the jury.
         At the end of the day, however, and as was argued in Plaintiffs’ Motion, Mr. Sulick’s
  testimony should be excluded regardless of whether he is being offered as a “historian” or as
  someone with experience in the CIA. Plaintiffs’ original motion comprehensively examined Mr.
  Sulick’s report section-by-section, discussing the specific deficiencies in each part of the report.
  Rather than responding in a similar manner (because, in truth, Mr. Sulick’s report is indefensible
Case 0:17-cv-60426-UU Document 303 Entered on FLSD Docket 11/05/2018 Page 2 of 5



  under Daubert and the Federal Rules of Evidence), Defendants instead rely on generalizations
  without ever addressing any of the specific failings in Mr. Sulick’s report. Because Plaintiffs’
  original Motion provided a detailed review of the specific shortcomings of Mr. Sulick’s report,
  Plaintiffs here only briefly address the general arguments raised in Defendants’ Opposition.
  I.     Mr. Sulick as Historian
         Defendants argue generally that it should not matter that Mr. Sulick’s report never
  mentions Plaintiffs, the allegations underlying this case, the Dossier, or the Defamatory
  statements. Instead, Defendants argue that Mr. Sulick should be permitted to testify simply to
  educate the jury generally on historical facts which include things like Vladimir Putin’s rise to
  power, the historic use of political assassinations as a method of intimidation by Russian Tsars in
  the early 1900s, and the history of Russia’s use of espionage. As with many of the other subjects
  addressed in Mr. Sulick’s report, these historical facts have absolutely no relevance to the actual
  issues in this case but instead are offered simply to paint Russians generally as being nefarious
  no-goodniks and murderous spies. In the context of this case, it is only slightly more relevant
  than a discussion of Boris and Natasha’s plans to rid themselves of moose and pesky squirrel.
         By way of analogy, it would be as if Plaintiffs had offered a historical expert to discuss
  the history of Yellow Journalism and how the competition between Joseph Pulitzer and William
  Randolph Hearst led to the publication of sensationalistic stories designed simply to sell more
  newspapers. Certainly, a historical look at yellow journalism and the publication of defamatory
  materials through the ages might be educational for a jury (and beneficial to Plaintiffs’ case) – it
  just wouldn’t educate them on the legitimate issues in this case. Nor does Mr. Sulick’s report
  educate the jury on the legitimate issues in this case.
         Beyond the issue of relevance, though, is the fact that Mr. Sulick is neither a professional
  historian (as are most of the experts in the cases cited by Defendants), nor has he relied on (or
  cited to) materials that professional historians would consider reliable. Mr. Sulick’s report is
  replete with (supposed) historical anecdotes drawn (it appears) from unnamed biographies and
  media reports Mr. Sulick has read, as well as fictional television shows and “based on a true
  story” movies. This goes not simply to the weight to be given to Mr. Sulick’s testimony, as
  Defendants suggest, but the very gatekeeper role with which this Court is entrusted. Surely, if
  Plaintiffs had proffered an expert witness who relied (even in part) on Cary Grant’s character in
  “North by Northwest” as being illustrative of how someone might be falsely accused of being a

                                                    2
Case 0:17-cv-60426-UU Document 303 Entered on FLSD Docket 11/05/2018 Page 3 of 5



  spy, the Court would prevent such evidence from reaching the jury just as it should with Mr.
  Sulick’s testimony.
          And, of course, not only is Mr. Sulick’s testimony not helpful in assisting the jury – it
  actively risks confusing the jury by introducing issues and allegations not even remotely at issue
  in this case.
  II.     Mr. Sulick as Retired CIA Operative
          Plaintiffs do not question or minimize Mr. Sulick’s service to the country as a retired CIA
  operative. Nor do they dispute that such service might give Mr. Sulick the ability to opine on
  certain matters within his experience. Nonetheless, Mr. Sulick’s testimony here fails for two
  reasons: (1) he has clearly opined on matters that fall outside his area of expertise and (2) at no
  point in his report does he ever connect his work for the CIA with any “opinion” he purports to
  offer. Again, these failings are addressed in depth in Plaintiffs’ original motion, which talks
  about the shortcomings of Mr. Sulick’s report on a section-by-section basis. In response,
  Defendants simply argue that an expert witness’ expertise may be based on experience and not
  simply on education and training. This is not a point anyone disputes nor is it an argument raised
  in Plaintiffs’ original motion.
          What Defendants’ Opposition does not do is explain either of the two ways in which Mr.
  Sulick’s testimony fails entirely. For example, Mr. Sulick’s personal “expertise” certainly does
  not extend to opining about historic methods by which Russian intelligence agencies conduct
  disinformation campaigns, dating back to the alleged actions of the Russian Tsar in 1917. It also
  does not extend to how Russian intelligence agencies offered to support the presidential
  candidacies of Adlai Stevenson and Hubert Humphrey and how they spread disinformation about
  President Ronald Reagan. And, even when topics discussed by Mr. Sulick might conceivably
  fall within his personal experience, his report never once connects that experience to the
  conclusions offered. Instead, Defendants offer nothing more than the blanket assertion that the
  Court should take Mr. Sulick’s word for it, precisely what this Court and the Eleventh Circuit
  have stated a Court may not do. See, e.g., Affiliati Network, Inc. v. Wanamaker, 2017 U.S. Dist.
  LEXIS 217403, at *7-8 (S.D. Fla. Aug. 14, 2017); United States v. Frazier, 387 F.3d 1244, 1261
  (11th Cir. 2004).




                                                    3
Case 0:17-cv-60426-UU Document 303 Entered on FLSD Docket 11/05/2018 Page 4 of 5



                                             Conclusion
         For the reasons stated hereinabove and in Plaintiffs’ original Daubert motion, this Court
  should exclude the expert report, testimony and opinions of Michael J. Sulick in their entirety.


  Dated: November 5, 2018

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                                                   4
Case 0:17-cv-60426-UU Document 303 Entered on FLSD Docket 11/05/2018 Page 5 of 5



                                  CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing was served electronically via
  the CM/ECF electronic filing system on all counsel or parties of record on the service list below
  on November 5, 2018.


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